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Defendant Counsel SigAditure’?
[1] EMMANUEL PACHECO-MARIN: Francisco Rebollo/ Luis Rivera | INN

 

[4] JESUS J. RIVERA-FIGUEROA;

Giovanni Canino

 

[2] SEGISMAR RODRIGUEZ-RIVERA;

Raul Mariani

 

[10] LUIS SERRANO-NIEVES;

Jose Aquayo

 

[12] FABIAN VILORA-SEPULVEDA:

Jose Novas

 

[13] ANTHONY VAZQUEZ-ARROYO:

Diego Alcala

 

[14] LUIS R. ESPINAL-RIVERA;

Francisco Adams

 

[15] IGNACIO GUAL-CALDERON;

Peter Diaz

 

[6] JONATHAN RIVERA-CARRASQUILLO:

Rachel Brill

 

[20] JASON ARROYO-PEREZ;

Miquel Rodriquez

 

[22] NEFTY L. OQUENDO-ROSARIO;

Ignacio Fernandez

 

[23] PEDRO COLLAZO-PRIETO;

Richard Dansoh

 

[24] JOSE ©. BAEZ-ROSA;

Juan Alvarez

 

[25] EDGAR NIEVES-TORRES;

Melanie Carrillo

 

[26] JONATHAN ARCE-CARRILLO:

Rafael Castro

 

[28] DIONICIO DE LA ROSA-RICHIEZ:

Lydia Lizarribar

 

[29] ANTHONY GONZALEZ-MIRANDA:

Robert Millan

 

[80] CARLOS R. NIEVES;

L. Guzman/R. Cerezo

 

[31] JOHN BLAYMEYER-QUINONES:

Leonardo Aldridge

 

[35] CHRISTIAN SIERRA-PEREZ:

Johnny Rivera

 

[36] VICTOR RIVERA-GALINDEZ;

Eduardo Ferrer

 

[39] EDIBERTO GARCIA-LOPEZ;

Irma Valldejuli

 

[41] LUIS A. PIRIS-TORRES:

Hector Dauhaijre

 

 

 

 

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[42] LUIS GARCIA-MORLAS: Laura Maldonado Sahl me fe) AWE
[43] MARIO DE JESUS-OCASIO; Mario Carrillo Subs titled by Reber Pree

[44] PEDRO J. CINTRON-ALVAREZ:

Jorge Rivera-Ortiz

 

[45] JOSE A. COLON-OTERO:

Miriam Ramos

 

[47] FERNANDO HILARIO-FIGUEROA;

 

 

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[48] RAFAEL MALDONADO-SEGARRA; Luis Guzman
[51] GILBERTO GUISE-CALDERON; Marie Cortes ft 9p
OTS
[52] CHRISTIAN LOPEZ-DIAZ Jose Perez x ee
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[53] EDWIN ROSA-COLON; Mariangela Tirado Dip pul
[55] CARLOS M. PANTOJAS-RUANO; Javier Morales J Sy
[56] LESLIE DOMINGUEZ-MIRANDA; Wilfredo Rios (: LY, AO go art
[57] CHRISTIAN J. HUERTAS-MENDEZ; Jorge Gerena p ee
[58] CHRISTOPHER J. ESPINAL-RIVERA; Raymond Rivera QC i
[59] DENNIS J. HERNANDEZ-RIVERA; Ramon Garay ( as
[60] JOEL C. NIEVES-TORRES; Jason Gonzalez
(61] JONATHAN MELENDEZ-OTERO; Rafael Anglada PO
[43] JORGE D. ALICEA-CINTRON; Julio Alejandro
[64] JOSE SANTIAGO-MONTANEZ; Carlos Sanchez te
[65] JOSE J. PIRIS-HERNANDEZ: Thomas Lincoln DBASE
[66] JUAN M. PEREZ-MENDEZ; David Ramos iy
[68] MICHAEL G, MARRERO-CASTRO; Rosa Bonini
[69] NELSON A. LOPEZ-QUINONES; Yassmin Gonzalez 4) wt
3 : rtemio Rivera / oe
[70] KELVINSON CASTILLO-CASTILLO Artemio Ri Hale
[71] PEDRO J. MASSAS-RIVERA: Jose Arce Hp
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[74] CARLOS RODRIGUEZ-MELENDEZ; Ernesto Hernandez =
“TNS
[75] ISADORA NIEVES-CRUZ. Allan Rivera Sub fh 4 AN\

 
